Case 1:19-cv-05229-MKB-TAM Document 29-1 Filed 04/06/21 Page 1 of 2 PageID #: 249




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  --------------------------------------------------------------X
  Christopher Samuel,
                             Plaintiff,                             Case No.
           -against-
                                                                    19-cv-05229(MKB)(RML)
  Eve Aron,
                             Defendant.
  --------------------------------------------------------------X

                               DECLARATION OF DAVID J. HOFFMAN


          1.       I am counsel for the Defendant Eve Aron.

          2.       I move for an order relieving me as counsel for Ms. Aron on account of, inter alia,

  Ms. Aron’s complete failure to communicate with me to even the minimum degree necessary to

  represent her in this matter.

          3.       Plaintiff Christopher Samuel timely served his discovery demands on March 5,

  2021.

          4.       Since that time, I have been continuously requesting Ms. Aron’s co-operation, to

  provide information and documents responsive to the request.

          5.       On March 15th, 18th, 19th, 23rd, 24th, 28th, 29th, 30th, 31st, and April 1st, all of 2021,

  I contacted Ms. Aron regarding her responses to the discovery requests. Ms. Aron repeatedly

  assured me that she would call me. At least half a dozen times, she expressly promised to call

  me at a given time, but never did. I would be happy to submit my correspondence with Ms.

  Aron for in camera review, if necessary and desired by the Court.

          6.       After April 1st, 2021, Ms. Aron claimed that a health issue was preventing her

  from timely responding and offered to obtain a letter from a doctor.
Case 1:19-cv-05229-MKB-TAM Document 29-1 Filed 04/06/21 Page 2 of 2 PageID #: 250




           7.     In light of the telephone conference scheduled for April 7th, I asked for such a

  doctor’s letter from Ms. Aron in advance of the conference. She never produced such a letter.

           8.     In view of her refusal to co-operate with me, I ask that the Court relieve me as

  Ms. Aron’s attorney. I do not seek to retain any charging lien.

           I affirm the foregoing under penalty of perjury.

  Dated:          Orchard Park, New York
                  April 6, 2021

                                                        /s/David J. Hoffman
